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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF WYOMING


CORY LEICK, an individual, and AMANDA                )
LEICK, an individual,                                )
                                                     )
              Plaintiffs,                            )
                                                     )
v.                                                   )       Civil No.
                                                     )
WYOMING STATE FORESTRY                               )
DIVISION, WYOMING OFFICE OF                          )
STATE LANDS AND INVESTMENTS,                         )
JENIFER SCOGGIN, in her official capacity,           )
KELLY NORRIS, in her official capacity,              )
and GE FORESTRY, INC., an Oregon                     )
corporation,                                         )
                                                     )
               Defendants.                           )


DECLARATION OF CHRISTIAN D. RUSH IN SUPPORT OF MOTION FOR PRO HAC
                        VICE ADMISSION


       I, Christian D. Rush, state and declare as follows:

       1.      I am over the age of 18, am competent to testify to the matters stated herein, and

have personal knowledge of the matters stated herein.

       2.      I am an Attorney at Dvorak Law Group, LLC, 9500 W. Dodge Rd., Ste. 100 Omaha,

NE 68114, telephone number 531-466-5041, email address: crush@ddlawgroup.com.

       3.      I am admitted to the court listed below:

               a. Nebraska (Admitted 09/21/2023)

       4.      I also declare that I am not, nor have I ever been, the subject of disciplinary or

criminal proceedings.

       5.      I affirm that I will comply with and be bound by the Local Rules of the United

States District Court for the District of Wyoming.
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       6.       I acknowledge that John A. Coppede is required to be fully prepared to represent

the client at any time, in any capacity.

       7.       I acknowledge that I submit to and am subject to the disciplinary jurisdiction of the

Court for any alleged misconduct arising in the course of preparation and representation in the

proceedings.

       I declare under penalty of perjury that the foregoing is true and correct.



April 4, 2024                          _/s/ Christian D. Rush
Date                                          Christian D. Rush
